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                                                           October 21, 2004

     Hon. Dora L. Irizarry
     United States District Court
     225 Cadman Plaza East
     Brooklyn, NY 112001

            Re:     Gerstner v Katz et al.
                    Docket No. CV 04-4290

     Dear Judge Irizarry:

            I am the attorney for Plaintiff in the above-referenced matter which was removed to Federal
     Court from Kings Supreme Court following Defendants’ filing of a Notice of Removal.

            Plaintiff respectfully requests a pre-motion conference at which Plaintiff shall seek
     permission to file a Motion seeking, inter alia, a remand back to Kings Supreme Court, Rule 11
     sanctions and attorneys fees:

                           Pursuant To 28 USC 1446(c), Defendants Are
                       Time-Barred From Filing The Instant Notice of Removal

             Pursuant to 28 USC 1446(c), Defendants must seek removal within thirty (30) days of
     receipt of the “pleading, motion, order or other paper” which put Defendants on notice that the case
     might be the subject of a Notice of Removal.

             As Defendants must concede, Defendants and their attorneys (i) appeared in Court to argue
     against Plaintiff’s Order To Show Cause on June 16, 2004, (ii) were served with the Summons and
     Complaint on June 18th and 21st, 2004, (iii) served and filed the Affidavit of Defendant Katz dated
     June 28, 2004, (iv) served and filed a Memorandum Of Law on July 7, 2004, (v) served and filed
     an Answer to the Verified Complaint on July 21, 2004 and (vi) fully participated in four (4) court
     hearings before Hon. Lewis Douglas on July 7, 2004, July 20, 2004, August 3, 2004 and September
     7, 2004 before filing the October 4, 2004 Notice of Removal.

             Annexed hereto are the Affidavits of Service which evidence that Defendants were
     personally served with the Order To Show Cause containing the Summons and Complaint on June
     18th and 21st, 2004. (Exhibit A) Yet Defendants’ Notice of Removal was filed 3 ½ months after
     service of the Order To Show Cause and Summons & Complaint.
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       Defendants thereafter served and filed an Affidavit of Defendant Katz dated June 28, 2004
which acknowledges notice of a possible trademark issue. (Exhibit B) Yet Defendants’ Notice of
Removal was filed nearly 3 ½ months after service of the Order To Show Cause and Summons &
Complaint.

        Defendants thereafter served and filed a Memorandum of Law on July 7, 2004 which, by
raising the issue of copyright and trademark, clearly indicate that Defendants were on notice that
this case might be the subject of a Notice of Removal. (Exhibit C) Defendants thereafter waited
nearly three months – until October 4, 2004 – before filing a Notice of Removal.

       Defendants’ July 21, 2004 Answer, at paragraphs 11 and 57 thereof, expressly indicates that
Defendants were on notice that Plaintiff, while not suing in State Court for the infringement of his
copyrights or trademark, was, inter alia, factually relying upon his copyrights and trademark in
support of his other state actions. (Exhibit D)

        Notwithstanding each of the above junctures which triggered the thirty day statutory period
within which to move for removal, Defendants continued to participate in the state court action by
filing documents and appearing at hearings. At none of these junctures did Defendants file a timely
Notice of Removal.

                             Defendants’ Blatant Misrepresentation
                        That They Were Not Served With The Complaint

        In paragraph 5 of the Notice of Removal, Defendants misrepresent to this Court that they
were not served with the Summons & Complaint. The annexed affidavits of service indicate that
Defendants were personally served with the Order To Show Cause and the Summons & Complaint
on June 18th and 21st, 2004. Moreover, Defendants fully admit to having been served in paragraph
4 of the Notice of Removal. Finally, Defendants served and filed an Answer to the Complaint on
or about July 21, 2004, clearly acknowledging that they received the Complaint.

               The State Court Complaint Does Not Raise Any Federal Issues

       Plaintiff’s Complaint states the following causes of action: breach of contract, interference
with contractual relations, interference with business opportunity, unfair competition, false labeling,
defamation and injunction.

       None of these are causes of action for copyright or trademark infringement and therefore
belong in state court rather than federal court.

        While Plaintiff’s causes of action for unfair competition and false labeling may also invoke
the Lanham Act, it is respectfully pointed out that under 28 USC 1338 and 15 USC 1121, state and
federal courts have concurrent jurisdiction in unfair competition and false labeling cases where the
pleaded facts give rise to state claims as well.
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        It is well settled that while a state court may not have jurisdiction over cases arising under
federal intellectual property laws, it does have jurisdiction to determine questions arising under
those laws or concerning intellectual property, i.e., questions concerning breach of contract, the
commission of torts and common law rights to be free of unfair competition.

      Judicial Economy, The Avoidance of Duplication and Prejudice To Plaintiff
     Warrant That This Matter Continue To Be Adjudicated In State Supreme Court

        This matter almost entirely concerns New York common law claims and only tangentially
concerns issues arising under federal copyright and trademark statutes. This matter has already
undergone responsive pleading in State Court and has already undergone over 20 hours of hearings
before a State Court Judge over the course of 4 days in June, July, August and September of 2004.
Three witnesses have already testified. Plaintiff has introduced 15 Trial Exhibits and Defendants
have introduced 7 Trial Exhibits. Plaintiff has even presented the Court with a live musical
demonstration on an electric piano which was specially brought into Court. Plaintiff’s Counsel has
already billed Plaintiff for over 53.5 hours of legal services in conjunction with the State Court
matter.

      Considering the extreme lateness and inappropriateness of Defendants’ application, it is
extremely prejudicial to Plaintiff to remove this matter to federal court. Plaintiff has expended
numerous hours and monies to prosecute this matter with no jurisdictional objection from
Defendants until recently – 3 ½ months after service of the Order To Show Cause and Summons
& Complaint. For these reasons, this matter should be remanded to State Court.

                                            Conclusion

        It is respectfully requested that the Court schedule a pre-motion conference at which
Plaintiff may seek permission to file a Motion seeking, inter alia, a remand back to Kings Supreme
Court plus sanctions and attorneys fees against Defendants.

                                                       Respectfully,



                                                       Leslie Ben-Zvi (LB-8639)

Enclosures
cc:    John S. O'Connor, Esq.
       Eli Gerstner
